          Case 3:18-cv-01999-ADC Document 17 Filed 03/12/19 Page 1 of 2



                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



  ASSOCIATION INSURANCE
  MANAGEMENT, INC., et al.,

        Plaintiffs,

         v.
                                                         Civil No. 18-1999 (ADC)

  TLS MANAGEMENT AND
  MARKETING SERVICES, LLC, et al.,

         Defendants.



                                    OPINION AND ORDER

       Defendants removed this case from the Court of First Instance, San Juan Part, asserting

this Court’s diversity jurisdiction. ECF No. 1. Plaintiffs timely filed a motion to remand. ECF

No. 7. Defendants opposed, ECF No. 9, and plaintiffs filed a surreply with leave of the Court,

ECF No. 13. For the following reasons, the Court GRANTS the motion for remand. ECF No. 7.

       “A civil action otherwise removable solely on the basis of” diversity jurisdiction under

28 U.S.C. § 1332(a), “may not be removed if any of the parties in interest properly joined and

served as defendants is a citizen of the State in which such action is brought.” 28 U.S.C.

§ 1441(b)(2). This “forum defendant rule precludes removal on the basis of diversity

jurisdiction.” DHLNH, LLC v. International Brotherhood of Teamsters, Local 251, 319 F. Supp.3d 604,

606 (D.R.I. Jun. 18, 2018); accord Sugar Corp of P.R. v. Environeering, Inc., 520 F. Supp. 996, 998

(D.P.R. Aug. 24, 1981); Kane v. Republica de Cuba, 211 F. Supp. 855, 855 (D.P.R. Dec. 19, 1962)
          Case 3:18-cv-01999-ADC Document 17 Filed 03/12/19 Page 2 of 2
Civil No. 18-1999 (ADC)                                                                    Page 2


(noting that removal from state courts to federal courts is “purely statutory,” and that “[t]he

Commonwealth of Puerto Rico is considered a state for [removal] purposes”).

       Although, co-plaintiff Elgin Allen’s jurisdictional citizenship is disputed by the parties as

either Texas or Puerto Rico, defendants definitively assert, and the plaintiffs agree, that

defendants are not based in Texas and are based in Puerto Rico. ECF Nos. 1 at 2; 1-2; 7; 9-1; 13;

13-3. See generally Pramco, LLC ex rel. CFSC Consortium, LLC v. San Juan Bay Marina, Inc., 435 F.3d

51, 54 (1st Cir. 2006) (noting that citizenship of a limited liability company “is determined by the

citizenship of all of its members”). Accordingly, the Court finds that the forum defendant rule

precludes defendants’ removal of plaintiffs’ case from Puerto Rico state court. The motion for

remand is GRANTED. ECF No. 7. Clerk of Court shall enter judgment accordingly. Parties are

to bear their own costs and attorney fees.

       SO ORDERED.

       At San Juan, Puerto Rico, on this 12th day of March, 2019.

                                                   S/AIDA M. DELGADO-COLÓN
                                                   United States District Judge
